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                           UNITED STATES DISTRICT COURT
                                       FOR THE
                            DISTRICT OF NEW HAMPSHIRE
_________________________________________
Robert Vozzella, Personal Representative       )
of the Estate of Judith Vozzella, and          )
Robert Vozzella , in his individual            )
Capacity                                       )
                                               )
Plaintiff                                      ) JURY TRIAL DEMANDED
                                               )
v.                                             )
                                               )
HCA Health Services of New Hampshire, Inc., )
d/b/a Portsmouth Regional Hospital,            )
George K. Looser, II, P.A.,                    )
Mark C. Sullivan, P.A., Coastal Cardiothoracic )
& Vascular Associates, and                     )
Appledore Medical Group, Inc.                  )
                                               )
Defendants                                     )
_________________________________________ )

                                      COMPLAINT

      The Plaintiffs bring this action for medical injury and wrongful death pursuant
to RSA 507-E and RSA 556:12 against Defendants.

                                        PARTIES

      1.      At all relevant times the Plaintiff, Robert Vozzella, was a citizen of the
              State of Maine, residing at 403 Goodwin Road, Eliot, ME 03903, and is the
              personal representative of the Estate of Judith Vozzella, having been duly
              appointed by the York County Probate Court on January 15, 2010.

      2.      Judith Vozzella resided at 403 Goodwin Road, Eliot, ME 03903, prior to
              her death and was a domiciliary of the State of Maine. Mrs. Vozzella’s
              date of birth was December 15, 1948.

      3.      The Plaintiff, Robert Vozzella, is a resident of the State of Maine and lives
              at 403 Goodwin Road, Eliot, ME 03903. He is surviving husband of Judith
              Vozzella, having been married to her on May 19, 1973.




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4.      The Defendant, HCA Health Services of New Hampshire, Inc. d/b/a
        Portsmouth Regional Hospital is a private corporation that is incorporated
        in the State of New Hampshire which does business as Portsmouth
        Regional Hospital, a hospital located at 333 Borthwick Avenue in
        Portsmouth, New Hampshire, (hereinafter “Portsmouth Regional
        Hospital”).

5.      At all times relevant herein, Portsmouth Regional Hospital acted by and
        through its administrators, officers, employees, staff, agents and ostensible
        agents for the purpose of operating its business as a hospital, medical
        center and health care provider and is therefore liable for the negligent
        acts and misconduct of said administrators, officers, employees, staff,
        agents and ostensible agents under the legal doctrine of vicarious liability.

6.      At all times relevant herein, Portsmouth Regional Hospital extended
        privileges to health care providers based on a credentialing process and
        held itself out to members of the general public including Mr. and Mrs.
        Vozzella as a provider of competent medical care and other health care
        services in this facility in accordance with the accepted standard of care
        amongst similar health care providers and as such owed duties to the
        Vozzellas including but not limited to its duty to: a) protect the members
        of the general public from foreseeable injury by practicing within the
        standard of care; b) provide the timely examination, test, and diagnosis of
        any and all medical conditions reasonably expected or discovered; c)
        provide appropriate treatment and care of the patient ; and d) provide any
        other medical services that a reasonably prudent and competent health
        care provider would administer under the same or similar circumstances.

7.      The Defendant, Mark C. Sullivan, is a physician’s assistant licensed to
        practice in the State of New Hampshire.

8.      At all times relevant herein, PA Sullivan is believed to have been either
        employed by, credentialed by, or otherwise associated with Portsmouth
        Regional Hospital with privileges to practice medicine at Portsmouth
        Regional Hospital. As such PA Sullivan held himself out to the members
        of the general public including Judith Vozzella as a provider of competent
        medical care and other health care services in accordance with the
        accepted standard of care amongst similar health care providers; PA
        Sullivan owed Judith Vozzella duties including but not limited to a duty
        to: a) protect the members of the general public from foreseeable injury by
        practicing within the standard of care; b) provide the timely examination,
        test, and diagnosis of any and all medical conditions reasonably expected
        or discovered; c) provide appropriate treatment and care of the patient ;


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        and d) provide any other medical services that a reasonably prudent and
        competent health care provider would administer under the same or
        similar circumstances.

9.      Defendant, Appledore Medical Group, Inc.(hereinafter Appledore) is a
        corporation registered in New Hampshire with a principal place of
        business at One Park Plaza, Nashville, TN and operating in New
        Hampshire at 333 Borthwick Avenue in Portsmouth, New Hampshire,
        County of Rockingham with a registered agent identified as CT
        Corporation, 9 Capitol Street, Concord, NH 03301.

10.     At all times relevant herein, Appledore is alleged to be the employer of
        Defendant Sullivan. Defendant Appledore acted by and through its
        administrators, officers, employees, staff, agents and ostensible agents for
        the purpose of operating its business as a medical center and health care
        provider and is therefore liable for the negligent acts and misconduct of
        said administrators, officers, employees, staff, agents and ostensible
        agents under the legal doctrine of vicarious liability.

11.     The Defendant, George K. Looser, II, is a physician’s assistant licensed to
        practice in the State of New Hampshire

12.     At all times relevant herein, PA Looser is believed to have been either
        employed by, credentialed by, or otherwise associated with Portsmouth
        Regional Hospital with privileges to practice medicine at Portsmouth
        Regional Hospital. As such PA Looser held himself out to the members of
        the general public including Judith Vozzella as a provider of competent
        medical care and other health care services in accordance with the
        accepted standard of care amongst similar health care providers; PA
        Looser owed Judith Vozzella duties including but not limited to a duty to:
        a) protect the members of the general public from foreseeable injury by
        practicing within the standard of care; b) provide the timely examination,
        test, and diagnosis of any and all medical conditions reasonably expected
        or discovered; c) provide appropriate treatment and care of the patient ;
        and d) provide any other medical services that a reasonably prudent and
        competent health care provider would administer under the same or
        similar circumstances.

13.     Defendant, Coastal Cardiothoracic and Vascular Associates (hereinafter,
        Coastal) is a New Hampshire business entity with a principal place of
        business at 333 Borthwick Avenue in Portsmouth, New Hampshire,
        County of Rockingham.



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14.   At all times relevant herein, Coastal Cardiothoracic and Vascular
      Associates is alleged to be the employer of Defendant Looser. Defendant
      Coastal acted through its administrators, officers, employees, staff, agents
      and ostensible agents for the purpose of operating its business as medical
      center and health care provider and is therefore liable for the negligent
      acts and misconduct of said administrators, officers, employees, staff,
      agents and ostensible agents under the legal doctrine of vicarious liability.

                          JURISDICTION & VENUE

15.   This court has jurisdiction over the parties and the causes of action alleged
      herein pursuant to 28 USC §1332 due to the diversity of the citizenship of
      the parties and the amount in controversy which exceeds $75,000.

16.   Venue lies in this District pursuant to 28 U.S.C. § 1391 because the claims
      arose in the District of New Hampshire.

                                     FACTS

17.   Robert Vozzella was married to Judith Vozzella (Judith) who died on June
      19, 2009 at age 60.

18.   On April 12, 2009 Judith was admitted to the York County Hospital in
      York, Maine with nausea, vomiting and diarrhea.

19.   On April 20, 2009 Judith was transferred to the Portsmouth Regional
      Hospital in Portsmouth, New Hampshire, with a diagnosis of stroke, i.e.,
      left sided cerebrovascular accident, (“CVA”) and myocardial infarction
      due to septic emboli caused by mitral valve endocarditis with an emergent
      need for surgical mitral valve replacement.

20.   On April 21, 2009 Dr. Donato Sisto performed mitral valve replacement
      surgery on Judith, completed at 15:06, and was assisted by Defendant,
      Mark Sullivan, PA-C.

21.   Because of Judith’s severe peripheral vascular disease Dr. Sisto placed an
      aortic arterial line through an innominate artery to provide blood pressure
      readings.

22.   Because of the aortic arterial line, immediately after the surgery, Dr. Sisto
      ordered that Judith was not to be turned as indicated by the April 21, 2009
      Physician’s Order entry, signed by Defendant Mark Sullivan, PA which
      states: “Do not turn patient due to innominate arterial line.”


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23.   On April 21, 2009, following surgery, Judith was transferred in the
      operating room from a table onto a stretcher and was then taken to the
      Intensive Care Unit of the Portsmouth Regional Hospital.

24.   From April 21, 2009 until April 24, 2009, Judith remained supine and
      immobile on the stretcher, sedated and unable to advocate for herself.

25.   None of her care providers planned for or took any appropriate
      preventative steps during the immediate post-operative patient transfer or
      subsequently thereafter to transfer her to a specialty bed and mattress or
      to otherwise address the potential and likely development of decubitus
      ulcers, nor did they communicate such risks to her surgeon.

26.   For the first time, on April 24, 2009, though the aortic arterial line was still
      present, Judith was transferred from the stretcher to a sport/rotating bed.

27.   Although the records are devoid of details, on April 24, 2009 a massive
      hospital-acquired Stage IV bilateral decubitus ulcer of the buttocks was
      discovered on Judith’s backside.

28.   On April 24, 2009 a non-aggressive, incomplete plan of care was ordered.

29.   At that same time and place, on Friday, April 24, 2009, Defendant Looser
      asked for a wound care consultant, E. Gauthrer, R.N.,in the nursing
      department at Portsmouth Regional Hospital to examine Judith to address
      the worsening ulcers.

30.   Despite the extreme risk of a deadly progressive decubitus ulcer,
      Gauthrer, who had already left for the weekend, indicated that she would
      see Judith another three days later on Monday, April 27, 2009.

31.   Also despite the extreme risk of a deadly progressive decubitus ulcer
      Defendants Looser and Sullivan failed to take any additional steps to
      insure a timely wound and surgical consult or the administration of
      appropriate treatment.

32.   Also on April 24, 2009, despite still having the aortic arterial line in place,
      physicians indicated that Judith could be turned per protocols for
      appropriate management.

33.   During the three days from April 21, 2009 to April 24, 2009, nurses and
      caretakers, including Defendants Sullivan and Looser, failed to take any


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      appropriate steps to prevent Judith from developing decubitus ulcers and
      in fact did not have any appropriate preventative wound care plan in
      place.

34.   During the additional three days from April 24, 2009 when the ulcers were
      discovered to April 27, 2009, the nurses and caregivers took only
      insufficient and non-aggressive steps to address the progressive
      worsening ulcers.

35.   Portsmouth Regional Hospital Department of Nursing failed to protect
      Judith Vozzella from the worst possible outcome by not providing
      preventative measures for skin breakdown as required by the standard of
      care for three consecutive days.

36.   As indicated by the complete absence of appropriate supporting
      documentation the Nursing Department failed to discuss or pursue an
      alternative plan of care for the prevention of the development of pressure
      ulcers relating to a sedated post-operative immobile patient with a clinical
      history of global vascular disease, insulin-dependent Diabetes Mellitus
      Type II, and a left sided CVA.

37.   Although Judith was identified as incontinent of stool from admission, no
      rectal tube was used to prevent contamination until April 24, 2009.

38.   Furthermore, though a rectal tube was used beginning April 24, 2009, the
      Nursing Department and other medical caretakers at the hospital failed to
      appropriately secure the tube, which fell out at least three times, resulting
      in fecal contamination of the ulcer.

39.   On April 28, 2009, a general surgery consult was ordered and surgery was
      performed on April 29, 2009, five days subsequent to the discovery of the
      hospital-acquired decubitus ulcers.

40.   The first debridement of the unstageable decubitus ulcer was attempted
      on April 30, 2009 and it revealed; necrotic skin and muscle of the buttocks
      bilaterally; necrotic subcutaneous tissue and muscle with extensive soft
      tissue loss; a complete loss of the medial gluteal muscle down to the bone,
      secondary to the necrosis; and extensive exposure of the sacrum.

41.   On April 20, 2009, at the time of the transfer to Portsmouth Regional
      Hospital, Judith was known to be an extremely high-risk patient for the
      development of pressure ulcers with an abnormally low albumin level
      pre-operatively and a history of a recent previous myocardial infarction


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      and CVA, global peripheral vascular disease and Type II insulin-
      dependent diabetes.

42.   On admission to Portsmouth Regional Hospital Judith’s skin was
      bilaterally intact on her backside and buttocks.

43.   Wound care intervention to prevent and treat the hospital-acquired
      decubitus ulcer was not coordinated and not begun until six days after
      admission and three days following discovery of the ulcer.

44.   On May 29, 2009 additional hospital acquired decubitis ulcers with
      necrosis were noted on Judith Vozzella’s heal, head and posterior scalp.

45.   As evidenced by the absence of documentation Nursing personnel and
      other medical caretakers failed to take preventative measures for further
      skin breakdown specific to these areas.

46.   After approximately two months of unremitting pain and suffering from
      the decubitus ulcers, Judith died due to complications from the ulcers.

       COUNT I – MEDICAL MALPRACTICE/WRONGFUL DEATH

47.   Plaintiff repeats and realleges every allegation in paragraphs 1-46 as
      though fully set forth herein.

48.   All Judith’s caretakers at Portsmouth Regional Hospital and the
      Portsmouth Regional Hospital breached the standard of care by failing in
      their duty to protect Judith from injury and death by allowing her
      complete immobilization with the omission of a plan of care for the
      prevention of the development of decubitus ulcers specific to the
      immobilized sedated post-operative patient.

49.   Immobilization in this critical clinical setting created a known risk of
      developing skin breakdown and ultimately was the cause of the hospital-
      acquired decubitus ulcer.

50.   There is an absence of documentation covering the three-day post-
      operative period justifying the arterial line compared with the likely
      problem of skin breakdown.

51.   As evidenced by the absence of documentation, neither Judith Vozzella
      nor her family were informed of the risks associated with immobilization
      in a clinical setting of severe peripheral vascular disease.


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52.    Given the severe nature of Judith Vozzella’s vasculopathy and the
       duration of her immobilization Defendants knew or should have known
       that a hospital-acquired serious skin breakdown would occur.

53.    Defendants further breached the standard of care by delaying appropriate
       treatment of the decubitus ulcer once discovered and by failing to
       appropriately treat the decubitus ulcer once discovered.

54.    The professional negligence by the Defendants is a deviation from the
       applicable standard of care of health care practitioners in the area to
       provide reasonable care and safe treatment to Judith for her medical
       problems.

55.    As a direct and proximate result of the Defendants’ negligent acts and
       omissions, Judith Vozzella developed an unstageable hospital-acquired
       decubitus ulcer of the buttocks bilaterally which contributed to and
       directly led to her progressive clinical decline, physically, mentally,
       spiritually emotionally, and ultimately her untimely death.

56.   As the direct, proximate and foreseeable result of the negligence and breach
      of the standard of care aforesaid, Judith Vozzella sustained severe
      damages, endured unremitting pain and suffering, underwent relentless
      painful surgical procedures and invasive interventions, incurred
      substantial medical bills for treatment and died on June 19, 2009.

57.   Wherefore, the Plaintiff’s Estate claims damages for the mental and
      physical pain suffered by her in consequence of the injury, the reasonable
      expenses occasioned to her estate by the injury, the shortened duration of
      her life and the resulting loss of enjoyment of life caused by the injury, and
      all other elements of damages that may be recovered under RSA 556:12.


        COUNT II – MEDICAL MALPRACTICE/WRONGFUL DEATH
                       MARK C. SULLIVAN, PA

58.    Plaintiff repeats and realleges every allegation in paragraphs 1-57 as
       though fully set forth herein.

59.    As set forth above, Defendant Sullivan breached the standard of care by
       failing to protect Judith Vozzella from injury and death by allowing her
       complete immobilization with the omission of a plan of care for the
       prevention of the development of decubitus ulcers specific to the


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        immobilized sedated post-operative patient.

60.     Immobilization in this critical clinical setting created known risk of
        developing skin breakdown and ultimately was the cause of the hospital-
        acquired decubitus ulcer.

61.     There is an absence of documentation covering the three-day post-
        operative period justifying the arterial line compared with the likely
        problem of skin breakdown.

62.     As evidenced by the absence of documentation, neither Judith Vozzella
        nor her family were informed of the risks associated with immobilization
        in a clinical setting of severe peripheral vascular disease.

63.     Given the severe nature of Judith Vozzella’s vasculopathy and the
        duration of her immobilization Defendant Sullivan knew or should have
        known that a hospital-acquired serious skin breakdown would occur.

64.     Defendant Sullivan further breached the standard of care by delaying
        appropriate treatment of the decubitus ulcer once discovered and by
        failing to appropriately treat the ulcer once discovered.

65.     The alleged professional negligence by the Defendant Sullivan is a
        deviation from the applicable standard of care of health care practitioners
        in the area to provide reasonable care and safe treatment to Judith
        Vozzella for her medical problems.

66.     As a direct and proximate result of the Defendant Sullivan’s negligent acts
        and omissions, Judith Vozzella developed an unstageable hospital-
        acquired decubitus ulcer of the buttocks bilaterally which contributed to
        and directly led to her progressive clinical decline, physically, mentally,
        spiritually emotionally, and ultimately her untimely death.

67.    As the direct, proximate and foreseeable result of the negligence and breach
       of the standard of care aforesaid, Judith Vozzella sustained severe
       damages, endured unremitting pain and suffering, underwent relentless
       painful surgical procedures and invasive interventions, incurred
       substantial medical bills for treatment and died on June 19, 2009.

68      Wherefore, the Plaintiff’s Estate claims damages for the mental and
        physical pain suffered by her in consequence of the injury, the reasonable
        expenses occasioned to her estate by the injury, the shortened duration of
        her life and the resulting loss of enjoyment of life caused by the injury,


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      and all other elements of damages that may be recovered under RSA
      556:12.

      COUNT III – MEDICAL MALPRACTICE/WRONGFUL DEATH
                    GEORGE K. LOOSER, II, PA

69.   Plaintiff repeats and realleges every allegation in paragraphs 1-68 as
      though fully set forth herein.

70    As set forth above, Defendant Looser breached the standard of care by
      failing to protect Judith Vozzella from injury and death by allowing her
      complete immobilization with the omission of a plan of care for the
      prevention of the development of decubitus ulcers specific to the
      immobilized sedated post-operative patient.

71.   Immobilization in this critical clinical setting created known risk of
      developing skin breakdown and ultimately was the cause of the hospital-
      acquired decubitus ulcer.

72.   There is an absence of documentation covering the three-day post-
      operative period justifying the arterial line compared with the likely
      problem of skin breakdown.

73.   As evidenced by the absence of documentation, neither Judith Vozzella
      nor her family were informed of the risks associated with immobilization
      in a clinical setting of severe peripheral vascular disease.

74.   Given the severe nature of Judith Vozzella’s vasculopathy and the
      duration of her immobilization Defendant Looser knew or should have
      known that a hospital-acquired serious skin breakdown would occur.

75.   Defendant Looser further breached the standard of care by delaying
      appropriate treatment of the decubitus ulcer once discovered and by
      failing to appropriately treat the ulcer once discovered.

76.   The alleged professional negligence by the Defendant Looser is a
      deviation from the applicable standard of care of health care practitioners
      in the area to provide reasonable care and safe treatment to Judith
      Vozzella for her medical problems.

77.   As a direct and proximate result of the Defendant Looser’s negligent acts
      and omissions, Judith Vozzella developed an unstageable hospital-
      acquired decubitus ulcer of the buttocks bilaterally which contributed to


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       and directly led to her progressive clinical decline, physically, mentally,
       spiritually emotionally, and ultimately her untimely death.

78.   As the direct, proximate and foreseeable result of the negligence and breach
      of the standard of care aforesaid, Judith Vozzella sustained severe
      damages, endured unremitting pain and suffering, underwent relentless
      painful surgical procedures and invasive interventions, incurred
      substantial medical bills for treatment and died on June 19, 2009.

79.    Wherefore, the Plaintiff’s Estate claims damages for the mental and
       physical pain suffered by her in consequence of the injury, the reasonable
       expenses occasioned to her estate by the injury, the shortened duration of
       her life and the resulting loss of enjoyment of life caused by the injury,
       and all other elements of damages that may be recovered under RSA
       556:12

                     COUNT IV – VICARIOUS LIABILITY
                    PORTSMOUTH REGIONAL HOSPITAL

80.    Plaintiff repeats and realleges every allegation in paragraphs 1-79 as
       though fully set forth herein.

81.    At all relevant times, caregivers for Judith Vozzella during the course of
       events described above, were employees, agents or co-joint venturers of
       Defendant Portsmouth Regional Hospital, and acted within the scope of
       their employment, agency, or joint venture.

82.    Therefore, Portsmouth Regional Hospital is vicariously liable for the
       negligent acts or omissions of such caregivers and the damages and
       injuries alleged herein.

                      COUNT V – VICARIOUS LIABILITY
                     APPLEDORE MEDICAL GROUP, INC.

83.    Plaintiff repeats and realleges every allegation in paragraphs 1-82 as
       though fully set forth herein.

84.    At all relevant times, Defendant Sullivan during the course of events
       described above, was an employee and/or agent of Defendant Appledore
       and acted within the scope of his employment or agency.

85.    Therefore, Defendant Appledore is vicariously liable for the negligent acts
       or omissions of Defendant Sullivan and the damages and injuries alleged


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             herein.

                      COUNT VI – VICARIOUS LIABILITY
            COASTAL CARDIOTHORACIC AND VASCULAR ASSOCIATES

      86.    Plaintiff repeats and realleges every allegation in paragraphs 1-85 as
             though fully set forth herein.

      87.    At all relevant times, Defendant Looser during the course of events
             described above, was an employee and/or agent of Defendant Coastal
             and acted within the scope of his employment or agency.

      88.    Therefore, Defendant Coastal is vicariously liable for the negligent acts or
             omissions of Defendant Looser and damages and injuries alleged herein.

                          COUNT VII – LOSS OF CONSORTIUM

      89.    Plaintiff repeats and realleges every allegation in paragraphs 1-88 as
             though fully set forth herein.

      90.    Robert Vozzella and Judith Vozzella were married on May 19, 1973 and he
             is the surviving spouse of Judith Vozzella.

      91.    As a result of the negligence and breach aforesaid of all Defendants,
             Robert Vozzella, husband of Judith Vozzella, has been deprived of the
             care, comfort, society and companionship of his wife.

      92.    Wherefore, the Plaintiff Robert Vozzella claims damages for the loss of his
             wife’s consortium.

        WHEREFORE, Robert Vozzella demands judgment against all Defendants in an
amount sufficient to fully, fairly and adequately compensate him and the Estate for
their injuries and losses plus costs and interest.

Dated at Dover, New Hampshire this 12th day of April, 2011.

                                         Respectfully submitted,

                                         Robert Vozzella
                                         By His Attorneys,
                                         Shaheen & Gordon, P.A.




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